Case 23-01212-MEH   Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57   Desc
                           Exhibit 3 Page 1 of 6



                             EXHIBIT “3”
                                                      Case 23-01212-MEH                                 Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57                                                                         Desc
                                                                                                               Exhibit 3 Page 2 of 6

DATE                  2/15/2023                                                                                                                                                                                                                                                PHH MORTGAGE SERVIC
                                                                                                                                                                                                                                                                                      1 MORTGAGE W
                                                                                                                                                                                                                                                                                    MT LAUREL, NJ 080



                                                                                                                      CUSTOMER ACCOUNT ACTIVITY STATEMENT


MORT NAME      LINDA RODRIGUEZ
STREET         143 MONTROSE AVE
CITY STATE ZIP SOUTH PLAINFIELD, NJ, 07080


LOAN NUMBER: 8011172403
                                                                                                                             ACTIVITY FOR PERIOD 01/01/2019 - 12/31/2019
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                                                 Transaction                          Effective                 Fees                     Suspense             Principal      Interest      Escrow Advance                 Total     Principal          Escrow          Advance Suspense
Loan Number             Transaction Date Code                        Due Date           Date             Assessed Fees Paid                  Amount            Amount        Amount        Amount        Amount        Amount        Balance          Balance          Balance          Balance
8011172403                    1/1/2019                                                                                                                                                                                                    0.00             0.00             0.00             0.00
8011172403                    2/1/2019           142                                                      0.00                   0.00            0.00      -189824.17            0.00      1194.43           0.00          0.00 189824.17             1194.43               0.00             0.00
8011172403                    2/7/2019           173                  2/1/2019        2/7/2019            0.00                   0.00            0.00            330.83        751.39        550.02          0.00      1632.24 189493.34              1744.45               0.00             0.00
8011172403                    3/5/2019           172                  3/1/2019        3/5/2019            0.00                   0.00            0.00            332.14        750.08        550.02          0.00      1632.24 189161.20              2294.47               0.00             0.00
8011172403                    4/8/2019           172                  4/1/2019        4/8/2019            0.00                   0.00            0.00            333.46        748.76        550.02          0.00      1632.24 188827.74              2844.49               0.00             0.00
8011172403                    4/12/2019          313                  4/1/2019                            0.00                   0.00            0.00              0.00          0.00 -1261.16               0.00          0.00 188827.74             1583.33               0.00             0.00
8011172403                    5/8/2019           172                  5/1/2019        5/8/2019            0.00                   0.00        1632.24                0.00         0.00          0.00          0.00      1632.24 188827.74              1583.33               0.00        1632.24
8011172403                    5/9/2019           173                  5/1/2019        5/8/2019            0.00                   0.00       -1632.24             334.78        747.44        550.02          0.00          0.00 188492.96             2133.35               0.00             0.00
8011172403                    6/4/2019           172                  6/1/2019        6/4/2019            0.00                   0.00        1635.00                0.00         0.00          0.00          0.00      1635.00 188492.96              2133.35               0.00        1635.00
8011172403                    6/6/2019           147                  5/1/2019                            0.00                   0.00        1632.24            -334.78       -747.44       -550.02          0.00          0.00 188827.74             1583.33               0.00        3267.24
8011172403                    6/24/2019          174                  5/1/2019       6/24/2019            0.00                   0.00      -1630.68              334.78        747.44        548.46          0.00          0.00 188492.96             2131.79               0.00        1636.56
8011172403                    6/24/2019          630                                                      0.00                   0.00            0.00              0.00          0.00          0.00        150.00          0.00 188492.96             2131.79            150.00         1636.56
8011172403                    7/3/2019           631                                                      0.00                   0.00            0.00              0.00          0.00          0.00         20.00          0.00 188492.96             2131.79            170.00         1636.56
8011172403                    7/5/2019           172                  6/1/2019        7/5/2019            0.00                   0.00        1632.24                0.00         0.00          0.00          0.00      1632.24 188492.96              2131.79             170.00        3268.80
8011172403                    7/8/2019           173                  6/1/2019        7/5/2019            0.00                   0.00       -3261.36             336.10        746.12        548.46          0.00          0.00 188156.86             2680.25             170.00             7.44
8011172403                    7/8/2019           173                  7/1/2019        7/5/2019            0.00                   0.00            0.00            337.43        744.79        548.46          0.00          0.00 187819.43             3228.71             170.00             7.44
8011172403                    8/5/2019           172                  8/1/2019        8/5/2019            0.00                   0.00        1632.24                0.00         0.00          0.00          0.00      1632.24 187819.43              3228.71             170.00        1639.68
8011172403                    8/6/2019           313                  7/1/2019                            0.00                   0.00            0.00              0.00          0.00 -1553.70               0.00          0.00 187819.43             1675.01            170.00         1639.68
8011172403                    8/6/2019           173                  8/1/2019        8/5/2019            0.00                   0.00       -1630.68             338.77        743.45        548.46          0.00          0.00 187480.66             2223.47             170.00             9.00
8011172403                    8/12/2019          630                                                      0.00                   0.00            0.00              0.00          0.00          0.00        250.00          0.00 187480.66             2223.47            420.00              9.00
8011172403                    8/12/2019          630                                                      0.00                   0.00            0.00              0.00          0.00          0.00        500.00          0.00 187480.66             2223.47            920.00              9.00
8011172403                    9/5/2019           172                  9/1/2019        9/4/2019            0.00                   0.00        1635.00                0.00         0.00          0.00          0.00      1635.00 187480.66              2223.47             920.00        1644.00
8011172403                    9/6/2019           173                  9/1/2019        9/4/2019            0.00                   0.00       -1630.68             340.11        742.11        548.46          0.00          0.00 187140.55             2771.93             920.00           13.32
8011172403                    9/10/2019          601                                                      0.00                   0.00            0.00              0.00          0.00          0.00         20.00          0.00 187140.55             2771.93            940.00            13.32
8011172403                    9/10/2019          766                                                      0.00                   0.00            0.00              0.00          0.00          0.00        -20.00          0.00 187140.55             2771.93            920.00            13.32
8011172403                    9/18/2019          351                 10/1/2019                            0.00                   0.00            0.00              0.00          0.00 -1173.15               0.00          0.00 187140.55             1598.78            920.00            13.32
8011172403                    10/8/2019          172                 10/1/2019       10/8/2019            0.00                   0.00        1630.68                0.00         0.00          0.00          0.00      1630.68 187140.55              1598.78            920.00         1644.00
8011172403                    10/9/2019          173                 10/1/2019       10/8/2019            0.00                   0.00       -1630.68             341.46        740.76        548.46          0.00          0.00 186799.09             2147.24             920.00           13.32
8011172403                   10/22/2019          313                 10/1/2019                            0.00                   0.00            0.00              0.00          0.00 -1339.27               0.00          0.00 186799.09               807.97           920.00            13.32
8011172403                   10/30/2019          630                                                      0.00                   0.00            0.00              0.00          0.00          0.00        500.00          0.00 186799.09               807.97          1420.00            13.32
8011172403                    11/4/2019          173                 11/1/2019       11/2/2019            0.00                   0.00        1635.00                0.00         0.00          0.00          0.00      1635.00 186799.09                807.97          1420.00         1648.32
8011172403                    11/5/2019          173                 11/1/2019       11/2/2019            0.00                   0.00       -1630.68             342.81        739.41        548.46          0.00          0.00 186456.28             1356.43           1420.00            17.64
8011172403                   11/12/2019          630                                                      0.00                   0.00            0.00              0.00          0.00          0.00        150.00          0.00 186456.28             1356.43           1570.00            17.64
8011172403                    12/6/2019          172                 12/1/2019       12/6/2019            0.00                   0.00        1635.00                0.00         0.00          0.00          0.00      1635.00 186456.28              1356.43           1570.00         1652.64
8011172403                    12/9/2019          173                 12/1/2019       12/6/2019            0.00                   0.00       -1630.68             344.16        738.06        548.46          0.00          0.00 186112.12             1904.89           1570.00            21.96
8011172403                   12/23/2019          766                                                      0.00                   0.00            0.00              0.00          0.00          0.00       -150.00          0.00 186112.12             1904.89           1420.00            21.96
8011172403                   12/23/2019          601                                                      0.00                   0.00            0.00              0.00          0.00          0.00        150.00          0.00 186112.12             1904.89           1570.00            21.96
8011172403                   12/31/2019                                                                                                                                                                                            186112.12          1904.89           1570.00            21.96
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DATE                  2/15/2023                     Case 23-01212-MEH                                 Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57                                                                         Desc                                       PHH MORTGAGE SERVICES
                                                                                                                                                                                                                                                                                  1 MORTGAGE WAY
                                                                                                             Exhibit 3 Page 3 of 6                                                                                                                                              MT LAUREL, NJ 0805



                                                                                                                    CUSTOMER ACCOUNT ACTIVITY STATEMENT


MORT NAME      LINDA RODRIGUEZ
STREET         143 MONTROSE AVE
CITY STATE ZIP SOUTH PLAINFIELD, NJ, 07080


LOAN NUMBER: 8011172403
                                                                                                                           ACTIVITY FOR PERIOD 01/01/2020 - 12/31/2020
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                                                Transaction                          Effective                Fees                      Suspense           Principal       Interest     Escrow Advance                 Total     Principal         Escrow          Advance       Suspense
Loan Number             Transaction Date Code                       Due Date           Date             Assessed Fees Paid                Amount             Amount       Amount        Amount        Amount       Amount         Balance         Balance           Balance         Balance
8011172403                    1/1/2020                                                                                                                                                                                          186112.12          1904.89          1400.00            21.96
8011172403                    1/7/2020          172                  1/1/2020        1/7/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 186112.12              1904.89          1400.00         1656.96
8011172403                    1/7/2020          630                                                      0.00                  0.00            0.00              0.00          0.00          0.00       500.00          0.00 186112.12             1904.89          1900.00         1656.96
8011172403                    1/8/2020          173                  1/1/2020        1/7/2020            0.00                  0.00      -1630.68             345.53        736.69        548.46          0.00          0.00 185766.59             2453.35          1900.00            26.28
8011172403                   1/21/2020          313                  1/1/2020                            0.00                  0.00            0.00              0.00          0.00 -1514.64              0.00          0.00 185766.59              938.71          1900.00            26.28
8011172403                   1/23/2020          630                                                      0.00                  0.00            0.00              0.00          0.00          0.00       150.00          0.00 185766.59              938.71          2050.00            26.28
8011172403                    2/4/2020          172                  2/1/2020        2/4/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 185766.59               938.71          2050.00         1661.28
8011172403                    2/5/2020          173                  2/1/2020        2/4/2020            0.00                  0.00      -1630.68             346.89        735.33        548.46          0.00          0.00 185419.70             1487.17          2050.00            30.60
8011172403                    2/7/2020          173                  3/1/2020        2/7/2020            0.00                  0.00          67.59               0.00          0.00          0.00         0.00         67.59 185419.70             1487.17          2050.00            98.19
8011172403                   2/25/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00       500.00          0.00 185419.70             1487.17          2550.00            98.19
8011172403                   2/25/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00       150.00          0.00 185419.70             1487.17          2700.00            98.19
8011172403                   2/25/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -500.00          0.00 185419.70             1487.17          2200.00            98.19
8011172403                   2/25/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -150.00          0.00 185419.70             1487.17          2050.00            98.19
8011172403                   2/26/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00 -1000.00              0.00 185419.70             1487.17          1050.00            98.19
8011172403                   2/26/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -300.00          0.00 185419.70             1487.17            750.00           98.19
8011172403                   2/27/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00       500.00          0.00 185419.70             1487.17          1250.00            98.19
8011172403                   2/27/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00       150.00          0.00 185419.70             1487.17          1400.00            98.19
8011172403                   2/27/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00     1000.00           0.00 185419.70             1487.17          2400.00            98.19
8011172403                   2/27/2020          601                                                      0.00                  0.00            0.00              0.00          0.00          0.00       300.00          0.00 185419.70             1487.17          2700.00            98.19
8011172403                   2/27/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -500.00          0.00 185419.70             1487.17          2200.00            98.19
8011172403                   2/27/2020          766                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -150.00          0.00 185419.70             1487.17          2050.00            98.19
8011172403                    3/6/2020          172                  3/1/2020        3/5/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 185419.70              1487.17          2050.00         1733.19
8011172403                    3/9/2020          173                  3/1/2020        3/5/2020            0.00                  0.00      -1630.68             348.27        733.95        548.46          0.00          0.00 185071.43             2035.63          2050.00           102.51
8011172403                    4/7/2020          172                  4/1/2020        4/7/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 185071.43              2035.63          2050.00         1737.51
8011172403                    4/8/2020          173                  4/1/2020        4/7/2020            0.00                  0.00      -1630.68             349.65        732.57        548.46          0.00          0.00 184721.78             2584.09          2050.00           106.83
8011172403                   4/23/2020          313                  4/1/2020                            0.00                  0.00            0.00              0.00          0.00 -1514.64              0.00          0.00 184721.78             1069.45          2050.00           106.83
8011172403                    5/5/2020          172                  5/1/2020        5/5/2020            0.00                  0.00       1640.00                0.00          0.00          0.00         0.00      1640.00 184721.78              1069.45          2050.00         1746.83
8011172403                    5/6/2020          173                  5/1/2020        5/5/2020            0.00                  0.00      -1630.68             351.03        731.19        548.46          0.00          0.00 184370.75             1617.91          2050.00           116.15
8011172403                    6/5/2020          172                  6/1/2020        6/5/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 184370.75              1617.91          2050.00         1751.15
8011172403                    6/8/2020          173                  6/1/2020        6/5/2020            0.00                  0.00      -1630.68             352.42        729.80        548.46          0.00          0.00 184018.33             2166.37          2050.00           120.47
8011172403                    7/6/2020          172                  7/1/2020        7/3/2020            0.00                  0.00       1635.00                0.00          0.00          0.00         0.00      1635.00 184018.33              2166.37          2050.00         1755.47
8011172403                   7/21/2020          313                  7/1/2020                            0.00                  0.00            0.00              0.00          0.00 -1639.02              0.00          0.00 184018.33              527.35          2050.00         1755.47
8011172403                   7/23/2020          630                                                      0.00                  0.00            0.00              0.00          0.00          0.00        50.00          0.00 184018.33              527.35          2100.00         1755.47
8011172403                    8/5/2020          172                  7/1/2020        8/5/2020            0.00                  0.00       1740.04                0.00          0.00          0.00         0.00      1740.04 184018.33               527.35          2100.00         3495.51
8011172403                    8/6/2020          173                  7/1/2020        8/5/2020            0.00                  0.00      -1740.04             353.81        728.41        657.82          0.00          0.00 183664.52             1185.17          2100.00         1755.47
8011172403                    9/8/2020          172                  8/1/2020        9/4/2020            0.00                  0.00       1740.04                0.00          0.00          0.00         0.00      1740.04 183664.52              1185.17          2100.00         3495.51
8011172403                    9/9/2020          173                  8/1/2020        9/4/2020            0.00                  0.00      -1740.04             355.21        727.01        657.82          0.00          0.00 183309.31             1842.99          2100.00         1755.47
8011172403                   9/18/2020          351                 10/1/2020                            0.00                  0.00            0.00              0.00          0.00 -1179.15              0.00          0.00 183309.31              663.84          2100.00         1755.47
8011172403                   10/7/2020          172                  9/1/2020       10/7/2020            0.00                  0.00       1740.04                0.00          0.00          0.00         0.00      1740.04 183309.31               663.84          2100.00         3495.51
8011172403                   10/8/2020          173                  9/1/2020       10/7/2020            0.00                  0.00      -1740.04             356.62        725.60        657.82          0.00          0.00 182952.69             1321.66          2100.00         1755.47
8011172403                  10/20/2020          313                 10/1/2020                            0.00                  0.00            0.00              0.00          0.00 -1645.97              0.00          0.00 182952.69             -324.31          2100.00         1755.47
8011172403                   11/4/2020          172                 10/1/2020       11/4/2020            0.00                  0.00       1740.04                0.00          0.00          0.00         0.00      1740.04 182952.69              -324.31          2100.00         3495.51
8011172403                   11/5/2020          173                 10/1/2020       11/4/2020            0.00                  0.00      -1740.04             358.03        724.19        657.82          0.00          0.00 182594.66              333.51          2100.00         1755.47
8011172403                  11/17/2020          630                                                      0.00                  0.00            0.00              0.00          0.00          0.00       500.00          0.00 182594.66              333.51          2600.00         1755.47
8011172403                  11/30/2020          173                 11/1/2020 11/30/2020                 0.00                  0.00         -67.59               0.00          0.00        67.59          0.00          0.00 182594.66              401.10          2600.00         1687.88
8011172403                   12/7/2020          172                 11/1/2020       12/4/2020            0.00                  0.00       1740.04                0.00          0.00          0.00         0.00      1740.04 182594.66               401.10          2600.00         3427.92
8011172403                   12/8/2020          173                 11/1/2020       12/4/2020            0.00                  0.00      -1740.04             359.45        722.77        657.82          0.00          0.00 182235.21             1058.92          2600.00         1687.88
8011172403                  12/14/2020          745                                                      0.00                  0.00            0.00              0.00          0.00          0.00       350.00          0.00 182235.21             1058.92          2950.00         1687.88
8011172403                  12/14/2020          745                                                      0.00                  0.00            0.00              0.00          0.00          0.00      -350.00          0.00 182235.21             1058.92          2600.00         1687.88
8011172403                  12/31/2020                                                                                                                                                                                          182235.21          1058.92          2600.00         1687.88
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                                                      Case 23-01212-MEH                                 Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57                                                                         Desc
                                                                                                               Exhibit 3 Page 4 of 6



DATE                  2/15/2023                                                                                                                                                                                                                                                PHH MORTGAGE SERVIC
                                                                                                                                                                                                                                                                                      1 MORTGAGE W
                                                                                                                                                                                                                                                                                    MT LAUREL, NJ 080



                                                                                                                      CUSTOMER ACCOUNT ACTIVITY STATEMENT


MORT NAME      LINDA RODRIGUEZ
STREET         143 MONTROSE AVE
CITY STATE ZIP SOUTH PLAINFIELD, NJ, 07080


LOAN NUMBER: 8011172403
                                                                                                                             ACTIVITY FOR PERIOD 01/01/2021 - 12/31/2021
****************************************************************************************************************************************************************************************************************************************************************************************************************
                                                 Transaction                          Effective                 Fees                     Suspense             Principal      Interest      Escrow Advance                 Total     Principal          Escrow          Advance Suspense
Loan Number             Transaction Date Code                        Due Date           Date             Assessed Fees Paid                  Amount            Amount        Amount        Amount        Amount        Amount        Balance          Balance          Balance          Balance
8011172403                    1/1/2021                                                                                                                                                                                             182235.21          1058.92           1050.00         1687.88
8011172403                    1/4/2021           172                 12/1/2020        1/4/2021            0.00                   0.00        1740.04               0.00          0.00          0.00          0.00      1740.04 182235.21              1058.92           1050.00         3427.92
8011172403                    1/5/2021           173                 12/1/2020        1/4/2021            0.00                   0.00      -1740.04              360.87        721.35       657.82           0.00          0.00 181874.34             1716.74           1050.00         1687.88
8011172403                    1/19/2021          313                  1/1/2021                            0.00                   0.00            0.00              0.00          0.00 -1578.57               0.00          0.00 181874.34               138.17          1050.00         1687.88
8011172403                    2/4/2021           172                  1/1/2021        2/4/2021            0.00                   0.00        1740.04                0.00         0.00          0.00          0.00      1740.04 181874.34                138.17          1050.00         3427.92
8011172403                    2/5/2021           173                  1/1/2021        2/4/2021            0.00                   0.00       -1740.04             362.30        719.92       657.82           0.00          0.00 181512.04               795.99          1050.00         1687.88
8011172403                    3/5/2021           172                  2/1/2021        3/5/2021            0.00                   0.00        1740.04                0.00         0.00          0.00          0.00      1740.04 181512.04                795.99          1050.00         3427.92
8011172403                    3/8/2021           173                  2/1/2021        3/5/2021            0.00                   0.00       -1740.04             363.73        718.49       657.82           0.00          0.00 181148.31             1453.81           1050.00         1687.88
8011172403                    4/5/2021           172                  3/1/2021        4/5/2021            0.00                   0.00        1740.04                0.00         0.00          0.00          0.00      1740.04 181148.31              1453.81           1050.00         3427.92
8011172403                    4/6/2021           173                  3/1/2021        4/5/2021            0.00                   0.00       -1740.04             365.17        717.05       657.82           0.00          0.00 180783.14             2111.63           1050.00         1687.88
8011172403                    4/26/2021          313                  4/1/2021                            0.00                   0.00            0.00              0.00          0.00 -1149.73               0.00          0.00 180783.14               961.90          1050.00         1687.88
8011172403                    5/4/2021           172                  4/1/2021        5/4/2021            0.00                   0.00        1740.04                0.00         0.00          0.00          0.00      1740.04 180783.14                961.90          1050.00         3427.92
8011172403                    5/5/2021           173                  4/1/2021        5/4/2021            0.00                   0.00       -1740.04             366.62        715.60       657.82           0.00          0.00 180416.52             1619.72           1050.00         1687.88
8011172403                    6/4/2021           172                  5/1/2021        6/4/2021            0.00                   0.00        1740.14                0.00         0.00          0.00          0.00      1740.14 180416.52              1619.72           1050.00         3428.02
8011172403                    6/7/2021           173                  5/1/2021        6/4/2021            0.00                   0.00       -1740.04             368.07        714.15       657.82           0.00          0.00 180048.45             2277.54           1050.00         1687.98
8011172403                    7/6/2021           172                  6/1/2021        7/6/2021            0.00                   0.00        1740.14                0.00         0.00          0.00          0.00      1740.14 180048.45              2277.54           1050.00         3428.12
8011172403                    7/7/2021           173                  6/1/2021        7/6/2021            0.00                   0.00       -1740.04             369.53        712.69       657.82           0.00          0.00 179678.92             2935.36           1050.00         1688.08
8011172403                    7/20/2021          313                  7/1/2021                            0.00                   0.00            0.00              0.00          0.00 -1684.54               0.00          0.00 179678.92             1250.82           1050.00         1688.08
8011172403                    8/4/2021           172                  7/1/2021        8/4/2021            0.00                   0.00        1699.35                0.00         0.00          0.00          0.00      1699.35 179678.92              1250.82           1050.00         3387.43
8011172403                    8/5/2021           174                  7/1/2021        8/4/2021            0.00                   0.00       -1699.35             370.99        711.23       617.13           0.00          0.00 179307.93             1867.95           1050.00         1688.08
8011172403                    8/6/2021           630                                                      0.00                   0.00            0.00              0.00          0.00          0.00       125.00           0.00 179307.93             1867.95           1175.00         1688.08
8011172403                    9/7/2021           172                  8/1/2021        9/7/2021            0.00                   0.00        1699.35                0.00         0.00          0.00          0.00      1699.35 179307.93              1867.95           1175.00         3387.43
8011172403                    9/8/2021           174                  8/1/2021        9/7/2021            0.00                   0.00       -1699.35             372.46        709.76       617.13           0.00          0.00 178935.47             2485.08           1175.00         1688.08
8011172403                    10/6/2021          172                  9/1/2021       10/5/2021            0.00                   0.00        1699.35                0.00         0.00          0.00          0.00      1699.35 178935.47              2485.08           1175.00         3387.43
8011172403                    10/7/2021          173                  9/1/2021       10/5/2021            0.00                   0.00       -1699.35             373.93        708.29       617.13           0.00          0.00 178561.54             3102.21           1175.00         1688.08
8011172403                    10/8/2021          351                 10/1/2021                            0.00                   0.00            0.00              0.00          0.00 -1226.40               0.00          0.00 178561.54             1875.81           1175.00         1688.08
8011172403                   10/11/2021          351                 10/1/2022                            0.00                   0.00            0.00              0.00          0.00        -61.60          0.00          0.00 178561.54             1814.21           1175.00         1688.08
8011172403                   10/19/2021          313                 10/1/2021                            0.00                   0.00            0.00              0.00          0.00 -1566.12               0.00          0.00 178561.54               248.09          1175.00         1688.08
8011172403                    11/4/2021          172                 10/1/2021       11/4/2021            0.00                   0.00        1699.35                0.00         0.00          0.00          0.00      1699.35 178561.54                248.09          1175.00         3387.43
8011172403                    11/5/2021          173                 10/1/2021       11/4/2021            0.00                   0.00       -1699.35             375.41        706.81       617.13           0.00          0.00 178186.13               865.22          1175.00         1688.08
8011172403                    12/6/2021          172                 11/1/2021       12/6/2021            0.00                   0.00        1699.35                0.00         0.00          0.00          0.00      1699.35 178186.13                865.22          1175.00         3387.43
8011172403                    12/7/2021          173                 11/1/2021       12/6/2021            0.00                   0.00       -1699.35             376.90        705.32       617.13           0.00          0.00 177809.23             1482.35           1175.00         1688.08
8011172403                   12/31/2021                                                                                                                                                                                            177809.23          1482.35           1175.00         1688.08
****************************************************************************************************************************************************************************************************************************************************************************************************************
Case 23-01212-MEH
  DATE                  2/15/2023
                                                                             Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57                                                                                                                                                                    Desc
                                                                                                                                                                                                                                                                                  PHH MORTGAGE SERVICES
                                                                                                                                                                                                                                                                                        1 MORTGAGE WAY
                                                                                                                                                                                                                                                                                      MT LAUREL, NJ 08054
                                                                                    Exhibit 3 Page 5 of 6
                                                                                                                         CUSTOMER ACCOUNT ACTIVITY STATEMENT


  MORT NAME      LINDA RODRIGUEZ
  STREET         143 MONTROSE AVE
  CITY STATE ZIP SOUTH PLAINFIELD, NJ, 07080


  LOAN NUMBER: 8011172403
                                                                                                                               ACTIVITY FOR PERIOD 01/01/2022 - 12/31/2022
  **********************************************************************************************************************************************************************************************************************************************************************************************************************************************
                                                   Transaction                          Effective                 Fees                      Suspense            Principal       Interest      Escrow Advance                 Total Principal              Escrow          Advance        Suspense
  Loan Number             Transaction Date Code                        Due Date            Date             Assessed Fees Paid                 Amount             Amount        Amount        Amount        Amount        Amount        Balance          Balance           Balance         Balance
  8011172403                     1/1/2022                                                                                                                                                                                             177809.23          1482.35           1050.00          1688.08
  8011172403                     1/4/2022          172                  12/1/2021        1/4/2022            0.00                  0.00        1699.35                0.00          0.00          0.00          0.00      1699.35 177809.23              1482.35           1050.00          3387.43
  8011172403                     1/5/2022          173                  12/1/2021        1/4/2022            0.00                  0.00       -1699.35             378.39        703.83        617.13           0.00          0.00 177430.84             2099.48           1050.00          1688.08
  8011172403                    1/18/2022          313                  1/1/2022                             0.00                  0.00            0.00               0.00          0.00 -1601.95               0.00          0.00 177430.84               497.53          1050.00          1688.08
  8011172403                    1/21/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1777.72           0.00 177430.84               497.53          2827.72          1688.08
  8011172403                     2/7/2022          172                  1/1/2022         2/4/2022            0.00                  0.00        1699.35                0.00          0.00          0.00          0.00      1699.35 177430.84                497.53          2827.72          3387.43
  8011172403                     2/8/2022          173                  1/1/2022         2/4/2022            0.00                  0.00       -1699.35             379.89        702.33        617.13           0.00          0.00 177050.95             1114.66           2827.72          1688.08
  8011172403                     3/1/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2635.71           0.00 177050.95             1114.66           5463.43          1688.08
  8011172403                     3/2/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       781.55           0.00 177050.95             1114.66           6244.98          1688.08
  8011172403                     3/4/2022          172                  2/1/2022         3/4/2022            0.00                  0.00        1699.35                0.00          0.00          0.00          0.00      1699.35 177050.95              1114.66           6244.98          3387.43
  8011172403                     3/7/2022          173                  2/1/2022         3/4/2022            0.00                  0.00       -1699.35             381.39        700.83        617.13           0.00          0.00 176669.56             1731.79           6244.98          1688.08
  8011172403                     4/4/2022          172                  3/1/2022         4/4/2022            0.00                  0.00        1699.35                0.00          0.00          0.00          0.00      1699.35 176669.56              1731.79           6244.98          3387.43
  8011172403                     4/4/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       997.15           0.00 176669.56             1731.79           7242.13          3387.43
  8011172403                     4/5/2022          173                  3/1/2022         4/4/2022            0.00                  0.00       -1699.35             382.90        699.32        617.13           0.00          0.00 176286.66             2348.92           7242.13          1688.08
  8011172403                    4/22/2022          313                  4/1/2022                             0.00                  0.00            0.00               0.00          0.00 -1019.28               0.00          0.00 176286.66             1329.64           7242.13          1688.08
  8011172403                     5/4/2022          172                  4/1/2022         5/4/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 176286.66              1329.64           7242.13          3388.08
  8011172403                     5/5/2022          173                  4/1/2022         5/4/2022            0.00                  0.00       -1699.35             384.42        697.80        617.13           0.00          0.00 175902.24             1946.77           7242.13          1688.73
  8011172403                    5/27/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2002.14           0.00 175902.24             1946.77           9244.27          1688.73
  8011172403                     6/6/2022          172                  5/1/2022         6/6/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 175902.24              1946.77           9244.27          3388.73
  8011172403                     6/7/2022          173                  5/1/2022         6/6/2022            0.00                  0.00       -1699.35             385.94        696.28        617.13           0.00          0.00 175516.30             2563.90           9244.27          1689.38
  8011172403                     7/5/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2777.81           0.00 175516.30             2563.90          12022.08          1689.38
  8011172403                     7/6/2022          172                  6/1/2022         7/6/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 175516.30              2563.90          12022.08          3389.38
  8011172403                     7/7/2022          173                  6/1/2022         7/6/2022            0.00                  0.00       -1699.35             387.47        694.75        617.13           0.00          0.00 175128.83             3181.03          12022.08          1690.03
  8011172403                     7/8/2022          174                  7/1/2022         7/8/2022            0.00                  0.00       -1689.15             389.00        693.22        606.93           0.00          0.00 174739.83             3787.96          12022.08              0.88
  8011172403                    7/18/2022          313                  7/1/2022                             0.00                  0.00            0.00               0.00          0.00 -1716.88               0.00          0.00 174739.83             2071.08          12022.08              0.88
  8011172403                    7/29/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1647.87           0.00 174739.83             2071.08          13669.95              0.88
  8011172403                    7/29/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       163.17           0.00 174739.83             2071.08          13833.12              0.88
  8011172403                     8/3/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       480.69           0.00 174739.83             2071.08          14313.81              0.88
  8011172403                     8/4/2022          172                  8/1/2022         8/4/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 174739.83              2071.08          14313.81          1700.88
  8011172403                     8/5/2022          174                  8/1/2022         8/4/2022            0.00                  0.00       -1689.15             390.54        691.68        606.93           0.00          0.00 174349.29             2678.01          14313.81             11.73
  8011172403                     8/8/2022          630                                                       0.00                  0.00            0.00               0.00          0.00          0.00         50.00          0.00 174349.29             2678.01          14363.81             11.73
  8011172403                    8/22/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2926.28           0.00 174349.29             2678.01          17290.09             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00         50.00          0.00 174349.29             2678.01          17340.09             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       500.00           0.00 174349.29             2678.01          17840.09             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       350.00           0.00 174349.29             2678.01          18190.09             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       125.00           0.00 174349.29             2678.01          18315.09             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1777.72           0.00 174349.29             2678.01          20092.81             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2635.71           0.00 174349.29             2678.01          22728.52             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       781.55           0.00 174349.29             2678.01          23510.07             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       997.15           0.00 174349.29             2678.01          24507.22             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2002.14           0.00 174349.29             2678.01          26509.36             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2777.81           0.00 174349.29             2678.01          29287.17             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1647.87           0.00 174349.29             2678.01          30935.04             11.73
  8011172403                    8/29/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       163.17           0.00 174349.29             2678.01          31098.21             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00        -50.00          0.00 174349.29             2678.01          31048.21             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -500.00           0.00 174349.29             2678.01          30548.21             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -350.00           0.00 174349.29             2678.01          30198.21             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -125.00           0.00 174349.29             2678.01          30073.21             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -1777.72               0.00 174349.29             2678.01          28295.49             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -2635.71               0.00 174349.29             2678.01          25659.78             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -781.55           0.00 174349.29             2678.01          24878.23             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -997.15           0.00 174349.29             2678.01          23881.08             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -2002.14               0.00 174349.29             2678.01          21878.94             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -2777.81               0.00 174349.29             2678.01          19101.13             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -1647.87               0.00 174349.29             2678.01          17453.26             11.73
  8011172403                    8/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -163.17           0.00 174349.29             2678.01          17290.09             11.73
  8011172403                     9/2/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       209.23           0.00 174349.29             2678.01          17499.32             11.73
  8011172403                     9/6/2022          172                  9/1/2022         9/6/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 174349.29              2678.01          17499.32          1711.73
  8011172403                     9/7/2022          173                  9/1/2022         9/6/2022            0.00                  0.00       -1689.15             392.09        690.13        606.93           0.00          0.00 173957.20             3284.94          17499.32             22.58
  8011172403                     9/8/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       514.50           0.00 173957.20             3284.94          18013.82             22.58
  8011172403                    9/22/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00         96.04          0.00 173957.20             3284.94          18109.86             22.58
  8011172403                    9/23/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       480.69           0.00 173957.20             3284.94          18590.55             22.58
  8011172403                    9/23/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00         50.00          0.00 173957.20             3284.94          18640.55             22.58
  8011172403                    9/23/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2926.28           0.00 173957.20             3284.94          21566.83             22.58
  8011172403                    9/23/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -480.69           0.00 173957.20             3284.94          21086.14             22.58
  8011172403                    9/23/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00        -50.00          0.00 173957.20             3284.94          21036.14             22.58
  8011172403                    9/23/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -2926.28               0.00 173957.20             3284.94          18109.86             22.58
  8011172403                    10/4/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1974.50           0.00 173957.20             3284.94          20084.36             22.58
  8011172403                    10/5/2022          172                  10/1/2022       10/5/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 173957.20              3284.94          20084.36          1722.58
  8011172403                    10/5/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       517.44           0.00 173957.20             3284.94          20601.80          1722.58
  8011172403                    10/6/2022          173                  10/1/2022       10/5/2022            0.00                  0.00       -1689.15             393.64        688.58        606.93           0.00          0.00 173563.56             3891.87          20601.80             33.43
  8011172403                   10/14/2022          313                  10/1/2022                            0.00                  0.00            0.00               0.00          0.00 -1641.25               0.00          0.00 173563.56             2250.62          20601.80             33.43
  8011172403                   10/19/2022          351                  10/1/2023                            0.00                  0.00            0.00               0.00          0.00 -1389.95               0.00          0.00 173563.56               860.67         20601.80             33.43
  8011172403                   10/27/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       209.23           0.00 173563.56               860.67         20811.03             33.43
  8011172403                   10/27/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       514.50           0.00 173563.56               860.67         21325.53             33.43
  8011172403                   10/27/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00         96.04          0.00 173563.56               860.67         21421.57             33.43
  8011172403                   10/27/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       738.92           0.00 173563.56               860.67         22160.49             33.43
  8011172403                   10/27/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2411.78           0.00 173563.56               860.67         24572.27             33.43
  8011172403                   10/27/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -209.23           0.00 173563.56               860.67         24363.04             33.43
  8011172403                   10/27/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -514.50           0.00 173563.56               860.67         23848.54             33.43
  8011172403                   10/27/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00        -96.04          0.00 173563.56               860.67         23752.50             33.43
  8011172403                    11/4/2022          172                  11/1/2022       11/4/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 173563.56                860.67         23752.50          1733.43
  8011172403                    11/7/2022          173                  11/1/2022       11/4/2022            0.00                  0.00       -1689.15             395.20        687.02        606.93           0.00          0.00 173168.36             1467.60          23752.50             44.28
  8011172403                   11/25/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       517.44           0.00 173168.36             1467.60          24269.94             44.28
  8011172403                   11/25/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00       738.92           0.00 173168.36             1467.60          25008.86             44.28
  8011172403                   11/25/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -517.44           0.00 173168.36             1467.60          24491.42             44.28
  8011172403                   11/25/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00      -738.92           0.00 173168.36             1467.60          23752.50             44.28
  8011172403                   11/29/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1458.73           0.00 173168.36             1467.60          25211.23             44.28
  8011172403                   11/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -1974.50               0.00 173168.36             1467.60          23236.73             44.28
  8011172403                   11/29/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -2411.78               0.00 173168.36             1467.60          20824.95             44.28
  8011172403                   11/30/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      2411.78           0.00 173168.36             1467.60          23236.73             44.28
  8011172403                   11/30/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1974.50           0.00 173168.36             1467.60          25211.23             44.28
  8011172403                    12/2/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1091.72           0.00 173168.36             1467.60          26302.95             44.28
  8011172403                    12/5/2022          633                                                       0.00                  0.00            0.00               0.00          0.00          0.00       168.07           0.00 173168.36             1467.60          26471.02             44.28
  8011172403                    12/6/2022          172                  12/1/2022       12/6/2022            0.00                  0.00        1700.00                0.00          0.00          0.00          0.00      1700.00 173168.36              1467.60          26471.02          1744.28
  8011172403                    12/8/2022          173                  12/1/2022       12/6/2022            0.00                  0.00       -1689.15             396.76        685.46        606.93           0.00          0.00 172771.60             2074.53          26471.02             55.13
  8011172403                   12/27/2022          766                                                       0.00                  0.00            0.00               0.00          0.00          0.00 -1458.73               0.00 172771.60             2074.53          25012.29             55.13
  8011172403                   12/27/2022          601                                                       0.00                  0.00            0.00               0.00          0.00          0.00      1458.73           0.00 172771.60             2074.53          26471.02             55.13
  8011172403                   12/31/2022                                                                                                                                                                                             172771.60          2074.53          26471.02             55.13
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                                                      Case 23-01212-MEH                                 Doc 14-5 Filed 09/25/24 Entered 09/25/24 16:03:57                                                                         Desc
                                                                                                               Exhibit 3 Page 6 of 6




DATE                  2/15/2023                                                                                                                                                                                                                                                PHH MORTGAGE SERVIC
                                                                                                                                                                                                                                                                                      1 MORTGAGE W
                                                                                                                                                                                                                                                                                    MT LAUREL, NJ 080



                                                                                                                      CUSTOMER ACCOUNT ACTIVITY STATEMENT


MORT NAME      LINDA RODRIGUEZ
STREET         143 MONTROSE AVE
CITY STATE ZIP SOUTH PLAINFIELD, NJ, 07080


LOAN NUMBER: 8011172403
                                                                                                                             ACTIVITY FOR PERIOD 01/01/2023 - 02/15/2023
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                                                 Transaction                          Effective                 Fees                     Suspense             Principal      Interest      Escrow Advance                 Total     Principal          Escrow          Advance Suspense
Loan Number             Transaction Date Code                        Due Date           Date             Assessed Fees Paid                  Amount            Amount        Amount        Amount        Amount        Amount        Balance          Balance           Balance         Balance
8011172403                    1/1/2023                                                                                                                                                                                             172771.60          2074.53           1050.00            55.13
8011172403                    1/5/2023           172                  1/1/2023        1/5/2023            0.00                   0.00        1700.00                0.00         0.00          0.00          0.00      1700.00 172771.60              2074.53           1050.00         1755.13
8011172403                    1/5/2023           633                                                      0.00                   0.00            0.00              0.00          0.00          0.00      5000.00           0.00 172771.60             2074.53           6050.00         1755.13
8011172403                    1/5/2023           633                                                      0.00                   0.00            0.00              0.00          0.00          0.00 15000.00               0.00 172771.60             2074.53          21050.00         1755.13
8011172403                    1/5/2023           633                                                      0.00                   0.00            0.00              0.00          0.00          0.00        718.83          0.00 172771.60             2074.53          21768.83         1755.13
8011172403                    1/9/2023           173                  1/1/2023        1/5/2023            0.00                   0.00       -1689.15             398.33        683.89       606.93           0.00          0.00 172373.27             2681.46          21768.83            65.98
8011172403                   1/18/2023           313                  1/1/2023                            0.00                   0.00            0.00              0.00          0.00 -1640.51               0.00          0.00 172373.27             1040.95          21768.83            65.98
8011172403                   1/25/2023           601                                                      0.00                   0.00            0.00              0.00          0.00          0.00      1091.72           0.00 172373.27             1040.95          22860.55            65.98
8011172403                   1/25/2023           601                                                      0.00                   0.00            0.00              0.00          0.00          0.00        168.07          0.00 172373.27             1040.95         23028.62             65.98
8011172403                   1/25/2023           766                                                      0.00                   0.00            0.00              0.00          0.00          0.00 -1091.72               0.00 172373.27             1040.95         21936.90             65.98
8011172403                   1/25/2023           766                                                      0.00                   0.00            0.00              0.00          0.00          0.00       -168.07          0.00 172373.27             1040.95         21768.83             65.98
8011172403                    2/2/2023           633                                                      0.00                   0.00            0.00              0.00          0.00          0.00        215.60          0.00 172373.27             1040.95          21984.43            65.98
8011172403                    2/3/2023           172                  2/1/2023        2/3/2023            0.00                   0.00        1689.15                0.00         0.00          0.00          0.00      1689.15 172373.27              1040.95          21984.43         1755.13
8011172403                    2/6/2023           173                  2/1/2023        2/3/2023            0.00                   0.00       -1689.15             399.91        682.31       606.93           0.00          0.00 171973.36             1647.88          21984.43            65.98
8011172403                   2/15/2023                                                                                                                                                                                             171973.36          1647.88         21984.43             65.98
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